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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

No. 21-CR-453 (JDB)

SEAN MICHAEL MCHUGH,

Defendant.

STATEMENT OF FACTS FOR STIPULATED TRIAL

The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Sean McHugh, with the concurrence of his attorney,

hereby submit the Elements and Statement of Facts for Stipulated Trial as to Counts 4 and 5 of the

Superseding Indictment. ECF No, 39.

L Elements

The essential elements of Assaulting, Resisting, or Impeding Certain Officers with a Deadly or

Dangerous Weapon, in violation of 18 U.S.C. § 111(b), each of which the government must prove the

following beyond a reasonable doubt are:

1,

That the defendant assaulted, resisted, opposed, impeded, intimidated, or interfered with any
officer or employee of the United States or of any agency in any branch of the United States
Government;

That the defendant did so with some use of force;

That the defendant did such acts voluntarily and intentionally, not by mistake or accident;
‘That the defendant did so while the officer was engaged in the performance of his/her official
duties; and

In doing such acts, the defendant used a deadly or dangerous weapon or inflicted bodily

 
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injury.

The essential elements of the offense of obstruction of an official proceeding and aiding and

abetting, in violation of 18 U.S.C. § 1512(¢)(2), each of which the government must prove the following

beyond a reasonable doubt:

1,

2.

The defendant attempted to or did obstruct or impede an official proceeding;

The defendant intended to obstruct or impede the official proceeding;

The defendant acted knowingly, with awareness that the natural and probable effect of
his conduct would be to obstruct or impede the official proceeding; and

The defendant acted corruptly.

The government further alleges that the defendant aided and abetted others in committing

obstruction of an official proceeding. To satisfy its burden of proof in proving that the defendant

aided and abetted others in committing this offense, the government must prove the following

beyond a reasonable doubt:

1.

Others committed obstruction of an official proceeding by committing each of the
elements of the offense charged;

The defendant knew that obstruction of an official proceeding was going to be
committed or was being committed by others;

The defendant performed an act or acts in furtherance of the offense;

The defendant knowingly performed that act or acts for the purpose of aiding, assisting,
soliciting, facilitating, or encouraging others in committing the offense of obstruction
of an official proceeding; and

The defendant did that act or acts with the intent that others commit the offense of an

obstruction of an official proceeding.

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iL Statement of Offense

The Attack at the U.S. Capitol on January 6, 2021

L The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is
secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol
include permanent and temporary security barriers and posts manned by USCP. Only authorized
people with appropriate identification are allowed access inside the Capitol.

2. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the

public,
3. On January 6, 2021, a joint session of the United States Congress convened at the
Capitol, which is located at First Street, SE, in Washington, D.C, During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in the Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election,
which had taken place on Tuesday, November 3, 2020. The joint session is set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.. The joint session
began at approximately 1:00 PM. Shortly thereafter, by approximately 1:30 PM, the House and
Senate adjourned to separate chambers to resolve a particular objection, Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber,

4, As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.
Temporary and permanent barricades, as noted above, were in place around the exterior of the
Capitol, and USCP officers were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

 
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5, At approximately 2:00 PM, certain individuals in the crowd forced their way
through, up, and over the barricades. Officers of the USCP were forced to retreat and the crowd
advanced to the exterior fagade of the building. The crowd was not lawfully authorized to enter or
remain in the building and, prior to entering the building, no members of the crowd submitted to
security screenings or weapons checks as required by USCP officers or other authorized security
officials.

6, At such time, the certification proceedings were still underway, and the exterior
doors and windows of the Capitol were locked or otherwise secured. Members of the USCP
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 PM, individuals in the crowd forced entry into the Capitol, including by breaking windows
and by assaulting members of law enforcement, as others in the crowd encouraged and assisted
those acts. The riot resulted in substantial damage to the Capitol, requiring the expenditure of more
than $2.8 million dollars for repairs.

7. Shortly thereafter, at approximately 2:20 PM, members of the House of
Representatives and of the Senate, including the President of the Senate, Vice President Pence,
were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the United
States Congress, including the joint session, were effectively suspended until shortly after 8:00 -
PM on January 6, 2021. In light of the dangerous circumstances caused by the unlawful entry to
the Capitol—including the danger posed by individuals who had entered the Capitol without any
security screening or weapons check—Congressional proceedings could not resume until after
every unauthorized occupant had been removed from or left the Capitol, and USCP confirmed that

the building was secured. The proceedings resumed at approximately 8:00 PM after the building

 
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had been secured. Vice President Pence remained in the Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

8. As a result of the civil disorder in Washington, D.C. on January 6, 2021, the United
States Secret Service, who had multiple protectees inside the Capitol at the time, was forced to
change its normal course of business and deploy additional personnel.

9. As a result of the civil disorder in Washington, D.C. on January 6, 2021, Safeway,
a grocery store chain, was forced to close its stores in the District of Columbia earlier than planned
on January 6, 2021. As a result, Safeway reported significantly lower sales on January 6, 2021,
both as projected and compared to the same date in prior years. Additionally, Safeway delivery
shipments from Pennsylvania to the District of Columbia were unable to be completed on January

6, 2021.

Sean McHugh’s Participation in the January 6, 2021, Capitol Riot
10, The defendant, Sean McHugh, lived in Auburn, California, in January 2021. On
January 5, 2021, the defendant flew from Sacramento, California to Washington, D.C. The purpose
of the defendant’s trip to Washington, D.C., was to protest Congress’ certification of the Electoral

College.

11. Records from defendant McHugh’ Facebook account confirm McHugh travelled to
protest Congress? certification of the Electoral College. In a December 21, 2020 Facebook post,
McHugh wrote: “Going to D.C. Jan 5 6 7 to fight. HMU if you wanna join. Reservations made!”
In a December 22, 2020 Facebook post, McHugh wrote: “If this doesn't make you want to get up
in storm Congress and rip people out of office then you need to move to China.”

12. On January 6, 2021, McHugh first went to the “Stop the Steal” rally at the National

Mall. McHugh was wearing a distinctive plaid shirt and gray ball cap. McHugh also carried with

 
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him an olive green backpack, a red and white megaphone, and a can of bear spray in a holster on
his hip.

13. While on the National Mall, McHugh spoke to the crowd through his megaphone
and urged them to go to the United States Capitol, including stating: “We have the power in
numbers, march on Congress directly after Trump’s speech.” This statement was recorded in a
publicly available video from the New York Times entitled “Day of Rage: How Trump Supporters
Took the U.S. Capitol”, and a portion of this video is Exhibit 1, that the parties agree is authentic.

14. MeHugh left the National Mali and joined a crowd heading toward the United
States Capitol. McHugh took videos on his mobile device while walking to the Capitol, including
one where he stated: “We’re storming the Capitol ... going to Congress, let them know we don’t
want them to accept Electoral College votes” and another where he stated: “This is our country,
we are not gonna let this happen.” The parties agree the enclosed videos are from McHugh’s phone
and are authentic. See Exhibits 2 and 3.

15. McHugh reached the exterior of the Western Front of the Capitol Grounds by 12:50
PM and was at the site of the first breach of the restricted area of the Capitol Grounds at
approximately 12:52 PM, near the Peace Monument. McHugh then followed the crowd up the
Pennsylvania walkway towards the West Plaza Barricade.

16.  Atthe North side of the West Plaza Barricade McHugh [ed other rioters in chants
of “whose house, our house” through his megaphone, waved other rioters up towards the barricade,
and shouted: “Come on! Let’s gol”; “Come on you guys, come on you guys! Bring it in!” to the
rioters. McHugh was also one of the first rioters to push past the police line at the West Plaza
Barricade when it collapsed under the weight of the numbers of rioters at approximately 12:58

PM. McHugh’s conduct was recorded on two publicly available videos: “Police under attack at

 
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the US Capitol” (a portion of this video is Exhibit 4) and “Patriots STORM U.S. Capitol” (a portion
of this video is Exhibit 5), that the parties agree are authentic.

17. Following the breach of the West Plaza Barricade, McHugh ran across the West
Plaza towards the South side of the Capitol and around scaffolding that had been built for the
inauguration.

18. — At approximately 1:00 PM, McHugh and another rioter pulled on barrier manned
by United States Capitol Police (USCP) Officer M.E. that protected access to a staircase under the
scaffolding. That staircase went around a defensive police line established in the West Plaza and
provided access to both the Lower West Terrace and Upper West Terrace of the Capitol, After a
brief back and forth, Officer M.E. reclaimed control of the barrier, and McHugh returned to the
West Plaza. This encounter with law enforcement was recorded on a publicly available video
entitled “January 6 DC RAW Video”, and a portion of this video is Exhibit 6, that the parties agree
is authentic.

19. From approximately 1:00 PM until approximately 1:11 PM, McHugh was at or near
the front where rioters faced off with law enforcement officers at the Southern side of the West
Plaza. McHugh can be seen in video shouting through his megaphone as rioters clash with law
enforcement officers, During this time rioters attempted to push through the defensive Hine,
iocluding attacking officers with their hands, throwing objects and deploying various kinds of
pepper spray. Law enforcement officers on the West Plaza held the line as officers positioned on
the Lower West Terrace above shot projectiles down at the rioters.

20. At approximately 1:11 PM, McHugh pulled a can of bear spray out of the holster

on his belt and fired two long, continuous bursts towards the line of law enforcement officers. This

 
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encounter was recorded by a USCP officer in a video entitled “DSC_0006”, and a portion of this
video is Exhibit 7, that the parties agree is authentic.

21. McHugeh struck multiple officers with the bear spray, including USCP Officer D.K.,
who was forced from the line for a few minutes. Specifically, the spray used by McHugh affected
Officer D.K.’s eyes, temporarily blinding him and preventing him from performing his official
duties, Officer D.K. directly attributed his injury to McHugh, recalling McHugh’s distinctive shirt
as well as the distinctive cloud of spray used by McHugh. Officer D.C. was eventually able to
return fo the line following decontamination.

22. $Thetype of spray used by McHugh against officers on January 6, 2021 was SABRE
Frontiersman Bear Attack Deterrent spray, which is hazardous to use on humans and is capable of
causing irreversible eye damage. The label also notes that the spray contains 2.0 percent
capsaicinoids. Capsaicinoids are lachrymators (mucous membrane irritants) found in the extracts
of oleoresin capsicum (OC), OC is a naturally occurring resin found in various peppers. Two
percent capsaicinoids is the strongest formula allowed by the Environmental Protection Agency
(EPA) in a bear spray, and it is more than 50 percent stronger than police pepper spray.

23. In January 2021, the Metropolitan Police Department (“MPD”) used OC defense
sprays with a potency between 0.2 percent and 1.3 percent major capsaicinoids.

24, —-Frontiersman Bear Attack Deterrent spray is a registered pesticide under the Federal
Insecticide, Fungicide, and Rodenticide Act. The EPA has approved labels for this specific
product. A copy of the July 3, 2019, EPA Labeling Notification for Frontiersman Bear Attack

Deterrent is included as Exhibit 8.

 
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25,

Foilowing the riot, McHugh posted on his Facebook account that “I unloaded a

whole can of bear spray on a line of cops I got three of them down really really good.” McHugh

agrees that his use of bear spray on the officers constituted a deadly or dangerous weapon.

26,

From approximately 1:11 PM until approximately 1:40 PM, McHugh remained on

the West Plaza, moving back and forth along a defensive perimeter established by law enforcement

officers. As rioters repeatedly attempted to breach the law enforcement line, McHugh shouted

encouragement to the rioters and vitriol towards law enforcement officers through his megaphone.

For example, the following statements by McHugh were captured on Jaw enforcement body-worn

cameras:

27,

authentic,

mo rho ae op

woo

m.

You are fucking cowards!

i have a jab to do and it’s to defend the Constitution!

You are protecting communists!

We’re coming, you can’t stop us forever, you can’t stop us forever, we are coming!
You're fucking p[******]!

You are protecting pedophiles ... crooks ... communists!

I'd be shaking in your Httle shit boots too!

You guys like protecting pedophiles ... protecting fucking h[****] ... protecting
ANTIFA!

Nazis followed orders!

You are gonna hear the lion roar!

You know what’s behind us? The Second Amendment, the Second Amendment is
behind us!

Imagine if we protect our country with our Second Amendment — you guys
wouldn’t be standing there right now... this is a good warning to you...you better
heed our warning. ..cause when we do protect our country, you’re not going to like
it, you’re gonna get the fuck out of our way.....we will be exercising our second
amendment rights!

What are you gonna do when we protect the Constitution with the Second
Amendment, what are you gonna do then? You ain’t gonna hold the Hne!

We're coming, you can’t stop us forever!

Law enforcement recorded these actions, and the parties agree the videos are

Portions of the law enforcement bedy-worn camera videos are attached hereto as

Exhibits 9, 10, 11.

 
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28, At approximately 1:40 PM a group of rioters carried or passed a billboard (a large
sign supported by a metal frame} towards a line of law enforcement officers. McHugh twice
grabbed onto the billboard and helped other rioters push it into the officers, using the billboard as
a kind of battering ram. McHugh also provided directions to other rioters, shouting “Yeah
b[****]!! Put it up there! Put it up there!” Afthough law enforcement officers initially attempted
to repel the billboard, the officers ultimately decided to pull the billboard behind their line to
remove it from the crowd. Law enforcement recorded these actions, and the parties agree the video
is authentic, a portion of this video is Exhibit 12.

29, ‘The billboard was approximately 10 to 15 feet wide and two or more feet high. The
entire frame was metal, had sharp edges, and had large wheels that stuck out toward the line of
law enforcement officers. It took fifteen to twenty law enforcement officers to fift and move the
billboard behind their line. Given the weight and size of the billboard, a law enforcement officer
could have been knocked unconscious or suffered lacerations if hit in the head when rammed by
the billboard.

30. McHugh did not enter the Capitol Building on January 6, 2021.

31. After the riot, McHugh posted on or sent messages via Facebook admitting his
participation, including:

a. I got pepper sprayed shot with mace bullets billy clubed but no major injuries. I'm
just at a loss for words... | hope Trump has a rabbit in his hat.

b. Yeah we made it in ] watched some guy get shot in the face with a rubber bullet his
face exploded blood everywhere on the steps of Congress a girl got shot in the neck
with the live round they were shooting mace out as they were [****** throwing

tear gas out of us they were shooting baseballs at us but we stormed them and we

took Congress
c. Iwas there at the front I was there at the f****** front
d, I got f***** up and sprayed three times right in the face directly my contacts

melted to my PF***** eyeballs

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32. On May 27, 2021, a search warrant was executed at Mctlugh’s residence. Multiple
items were recovered, including a plaid shirt, olive green backpack, gray baseball cap, and a red
and white megaphone. Officers also recovered two cans of Frontiersman Bear Attack Deterrent
spray and a spray holster. See Exhibits 13, 14 and 15 (photos of the bear spray recovered at

McHugh’s residence),

33. One of the recovered cans of Frontiersman Bear Attack Deterrent spray had been
opened while the other still had a safety clip attached. The contents of the open can were analyzed
at the FBI Laboratory in Quantico, Virginia on February 9, 2023. The FBI examination and
analysis confirmed that the open can contained capsaicinoids, specifically capsaicin and

dihydrocapsaicin.

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Ifthe Court finds the existence of these facts beyond a reasonable doubt, the defendant stipulates

that this evidence would establish each and every element of Counts 4 and 5 of the Superseding

Indictment.

By:

Respectfully submitted,

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DEFENDANT’S ACKNOWLEDGMENT

I, Sean McHugh, have read this Statement of the Facts and have discussed it with my
attorney. I fully understand this Statement of the Facts. I agree and acknowledge by my signature
that this Statement of the Facts is true and accurate. I do this voluntarily and of my own free will.

No threats have been made to me nor am I yad¢r the influence of anything that gould impede my

ability to understand this Statement of the
Date: OY f OF 2022 4

ATTORNEY’S ACKNOWLEDGMENT

   
  
 

 

 

“Sean McHugh
Defendant

T have read this Statement of the Facts and have reviewed it with my client fully. I concur
in my client's desire to adopt this Statement of the Facts as true and accurate.

Date: 4/ yy AOL

 

Attorney for Defendant McHugh

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